     Case 2:03-cr-00159 Document 132 Filed on 05/11/05 in TXSD Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
       Plaintiff-Respondent,                    §
                                                §
v.                                              §          Cr. No. C-03-159(5)
                                                §          Civil No. C-05-165
MICHAEL RONJE,                                  §
                                                §
       Defendant-Movant.                        §

                                     FINAL JUDGMENT

       The Court enters final judgment denying defendant Michael Ronje’s motion to vacate, set

aside or correct sentence under 28 U.S.C. § 2255.


       ORDERED this 11th day of May, 2005.




                                            ____________________________________
                                                        Janis Graham Jack
                                                    United States District Judge
